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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

JUAN CASTILLO                                 §
     Plaintiff                                §
                                              §
VS.                                           §              Case No. 5:18-cv-00041
                                              §              JURY
JLG INDUSTRIES, INC., OSHKOSH                 §
CORPORATION and JORGE ESTRADA                 §
      Defendants                              §


              JOINT ADVISORY PURSUANT TO ORDER OF MEDIATION

        Pursuant to the Court’s April 4, 2019, Order (Doc. 35), the parties advise the Court of
the following:

   1. Mediation has been scheduled on April 30, 2019, in San Antonio, Texas, with Don
      Philbin acting as the mediator.

   2. The parties will inform the Court of the outcome of the mediation within 72 hours of
      its completion.




                                             Respectfully submitted,

                                             SHEEHY, WARE & PAPPAS, P.C.

                                             By: /s/ Kyle M Rowley
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                                              ATTORNEYS FOR DEFENDANTS




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2019, a copy of this pleading was electronically filed
with the Clerk of Court and a true and correct copy of the foregoing was served on all record
of counsel.

Ronald Rodriguez
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                                               /s/ Kyle M Rowley_______________________
                                              Kyle M. Rowley




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